UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------- X
                                       :
GOOGLE LLC,                            :    21cv10260 (DLC)
                                       :
                         Plaintiff,    :   OPINION AND ORDER
               -v-                     :
                                       :
DMITRY STAROVIKOV and ALEXANDER        :
FILIPPOV,                              :
                                       :
                         Defendants.   :
                                       :
-------------------------------------- X

APPEARANCES:

For plaintiff:
Andrew Zenner Michaelson
Kathleen Elizabeth McCarthy
Laura Elizabeth Harris
King & Spaulding LLP (NYC)
1185 Avenue of the Americas
New York, NY 10036

Bethany Rupert
King & Spalding
1180 Peachtree Street NE
Atlanta, GA 30309

David Paul Mattern
Sumon Dantiki
King & Spalding LLP (DC)
1700 Pennsylvania Avenue, N.W.
Washington, DC 20006

For defendant Dmitry Starovikov:
Igor B. Litvak
The Litvak Law Firm, PLLC
1733 Sheepshead Bay Road
Suite 22
Brooklyn, NY 11235

For defendant Alexander Filippov:
Alexander Filippov, pro se
DENISE COTE, District Judge:
     In an Opinion and Order of November 15, 2022 (“the November

15 Opinion”), the Court sanctioned defendants Dmitry Starovikov

and Alexander Filippov, and their attorney Igor Litvak, for

their willful campaign to resist discovery and mislead the Court

in this action.   In an effort to compensate the plaintiff for

losses it incurred as a result of this misconduct, the sanctions

award included reasonable expenses and attorney's fees.

Pursuant to the November 15 Opinion, Google LLC (“Google”) has

applied for $525,673.81 in attorneys’ fees to be imposed jointly

and severally against the two individual defendants.     It has

settled with Litvak.   For the following reasons, Google’s

application is granted.


                               Background

     The reasoning behind the Court’s imposition of sanctions in

this litigation is set forth in the November 15 Opinion, and an

accompanying Opinion and Order dated December 5, 2022, denying

reconsideration of the November 15 Opinion.     See Google LLC v.

Starovikov, No. 21CV10260 (DLC), 2022 WL 16948296 (S.D.N.Y. Nov.

15, 2022) (granting sanctions); Google LLC v. Starovikov, No.

21CV10260 (DLC), 2022 WL 17414352 (S.D.N.Y. Dec. 5, 2022)

(denying reconsideration).     In brief, Google has brought claims

against the defendants for operating a botnet to steal and


                                   2
exploit Google users' personal information.     Dmitry Starovikov

and Alexander Filippov, the two named individual defendants (the

“Defendants”) failed to timely appear in this action, and

default was entered by the Clerk of Court against them on

February 8, 2022.     On March 14, the Defendants submitted a

motion to vacate the default, alleging they had not received

actual notice of the action until late January, when they heard

about it from “friends.”     In an Opinion of April 27, this Court

vacated the entry of default against the Defendants.

     After their default was vacated, it became clear that

Defendants, and their counsel, appeared in this Court with the

intent to abuse the court system and discovery rules to reap a

profit from Google.    The Defendants and their attorney

intentionally withheld information, misrepresented their

willingness and ability to participate in discovery, and engaged

in the intentional spoliation of electronically stored

information.   Defendants also appeared to extort Google,

offering in a September 8, 2022 settlement demand the private

keys for the Bitcoin accounts associated with the botnet,

thereby enabling Google to shut it down, if Google paid them $1

million each and made a separate payment to Litvak.     In all, the

Defendants’ actions indicated an intention to disadvantage




                                   3
Google in this litigation, avoid liability, and further profit

off of the criminal scheme described in the complaint.

     On August 8, 2022 Google moved for sanctions against the

Defendants and their attorney.       The November 15 Opinion granted

Google’s motion and imposed sanctions -- pursuant to the Court’s

inherent power and Fed. R. Civ. P. 37 -- in the form of default

judgment and a compensatory monetary sanction in the amount of

the plaintiff’s reasonable attorneys' fees, costs, and expenses

associated with litigating the case against the Defendants since

March 14, 2022, which was the date Defendants filed their motion

to set aside entry of default.       The monetary sanction was

assessed jointly and severally against Starovikov, Filippov, and

Litvak.

     An Order of November 15, 2022 set a briefing schedule for

determination of the monetary sanction awarded by the November

15 Opinion.    Google filed its application for attorneys’ fees on

December 16.    Google requested in its initial submission a sum

of $775,673.81.       Shortly thereafter, Google and Litvak reached

an agreement to resolve Google’s motion for attorney’s fees as

to Litvak only.   1   In Google’s reply submission, it reduced its

requested award to $525,673.81 -- accounting for Litvak’s


1 An Order of December 5 referred the Defendants and their
attorney to mediation. Both Defendants stated they were “not
interested in the mediation” and refused to participate.

                                     4
settlement -- to be jointly and severally paid by the

Defendants.   This sum reflects the attorneys’ fees incurred in

briefing Defendants’ motion to vacate the entry of default;

conducting discovery and responding to Defendants’ efforts to

obfuscate that process; engaging in settlement discussions; and

moving for sanctions.   Google has excluded from its request

“fees relating to its claims against the Doe Defendants and

other aspects of this litigation, including, for example,

drafting Requests for Admission that Google would have served on

Defendants had the litigation proceeded.”       The fee application

became fully submitted on February 3, 2023.


                            Discussion

     When a court imposes a monetary sanction against a party in

the amount of its adversary’s attorneys’ fees, the familiar

lodestar method is used as the starting point for calculating a

“presumptively reasonable fee.”       Millea v. Metro-N. R. Co., 658

F.3d 154, 166 (2d Cir. 2011) (citation omitted).       Calculating

the lodestar requires “determining a reasonable hourly rate by

considering all pertinent factors . . . and then multiplying

that rate by the number of hours reasonably expended.”          Lilly v.

City of New York, 934 F.3d 222, 230 (2d Cir. 2019).       The

reasonable hourly rate is one “in line with prevailing rates in

the community for similar services by lawyers of reasonably


                                  5
comparable skill, expertise and reputation.”     McDonald ex rel

Prendergast v. Pension Plan of the NYSA-ILA Pension Tr. Fund,

450 F.3d 91, 96 (2d Cir. 2006) (citation omitted).     To permit

calculation of the lodestar, “attorneys are required to keep and

submit contemporaneous records with their fee applications,

absent unusual circumstances outside the attorney's control.”

Restivo v. Hessemann, 846 F.3d 547, 591 (2d Cir. 2017).

      The calculation of attorneys’ fees “should not result in a

second major litigation,” because “[t]he essential goal in

shifting fees . . . is to do rough justice, not to achieve

auditing perfection.”     Fox v. Vice, 563 U.S. 826, 838 (2011)

(citation omitted).     Therefore, a court “may take into account

[its] overall sense of a suit” in imposing a fee award, “and may

use estimates in calculating and allocating an attorney's time.”

Id.

      Using the lodestar method, Google has calculated the

appropriate fee award as $775,673.81, only $525,673.81 of which

it seeks to recover from the Defendants.     Based on the Court’s

familiarity with the record and its review of the plaintiff’s

motion papers and the contemporaneous time records submitted

with the plaintiff’s motion, the Court finds that the tasks

performed were integrally connected with the conduct




                                   6
necessitating the imposition of sanctions and the hours expended

on those tasks were reasonable.

       Starovikov argues that the rates and hours plaintiff billed

to this matter were excessive.     2       Six attorneys worked on this

matter for plaintiff, billing over 916.1 hours, as summarized

below:

         Position                 Hourly Rate                 Total Hours
                                                                 Worked
    Partner             $1,173.00                             86.6
    Partner             $969.00                               197.2
    Senior Associate    $858.50 (before April 1, 2022)        186.6
                        $833.00 (after April 1, 2022)
    Senior Associate    $811.75                               298.1
    Associate           $569.50                               75.4
    Associate           $565.25                               72.2

       Starovikov argues that Google’s rates are unreasonable

because the litigation involved only “basic discovery

communications” and “general motion practice,” which requires no

“special expertise.”       Starovikov also argues that tasks

performed by the partners “could have been completed by a

cheaper associate.”       Starovikov has failed to overcome the

“strong presumption that the lodestar figure represents a

reasonable fee.”       P.J. by & through W.J. v. Conn. State Bd. of

Educ., 931 F.3d 156, 169 (2d Cir. 2019) (citation omitted).

Starovikov has proposed no alternative rates, nor has he offered


2 Only defendant Starovikov filed an opposition to Google’s fee
motion.

                                       7
any authority regarding prevailing rates in the Southern

District of New York for similar services.       Courts in this

district have “determined that hourly rates ranging from $250 to

$1,260 per hour, for attorneys' work on a commercial litigation

matter, were reasonable.”   Tessemae's LLC v. Atlantis Cap. LLC,

No. 18CV4902 (KHP), 2019 WL 2635956, at *4 (S.D.N.Y. June 27,

2019) (collecting cases).   And generally, “payment of fees by

sophisticated clients [is] solid evidence of their

reasonableness in the market.”    Bleecker Charles Co. v. 350

Bleecker St. Apartment Corp., 212 F. Supp. 2d 226, 230 (S.D.N.Y.

2002).   The hourly rates are within the accepted range of rates

within this district, and they represent the amount actually

paid by a sophisticated client.       Accordingly, the Court finds

the requested hourly rates to be reasonable.

     Starovikov next argues that the plaintiff’s request

includes an excessive number of billable hours.       Starovikov’s

argument has a fundamental flaw: it was largely the actions of

Defendants that dictated the kinds of work and the amount of

work undertaken by plaintiff’s counsel.       As the November 15

Opinion explains, the Defendants attempted to stymie Google’s

efforts to conduct discovery through a lengthy campaign of

misrepresentations and spoliation.       At every step of the way,

Defendants and their counsel opted to prolong this litigation --



                                  8
and, by extension, increase the plaintiff’s legal bills.

Defendants “cannot litigate tenaciously and then be heard to

complain about the time necessarily spent by the plaintiff in

response.”   City of Riverside v. Rivera, 477 U.S. 561, 580 n.11

(1986) (citation omitted).

     The Court has scrutinized the hours submitted for

reimbursement.    Plaintiff’s counsel spent a reasonable number of

hours litigating this matter, with reasonable staffing

decisions, given the complexity of the case and the duration of

the litigation.    The plaintiff took care to tailor its request

to the Court's sanctions order.        Accordingly, the Court finds

that the hours Google billed were reasonably expended.

     In his remaining objections, Starovikov argues under Fed.

R. Civ. P. 11 that Google’s requested fee is “grossly

disproportionate” to his alleged misconduct and is unnecessary

to deter future misconduct.     These objections are meritless --

the attorney’s fee award here did not arise under Rule 11.        As

the Court explained in the November 15 Opinion, the sanctions

awarded under its inherent authority and Rule 37 are intended to

reimburse Google, not to punish or deter misconduct.

     Finally, the Court considers the issue of joint and several

liability for Defendants.     Filippov filed no opposition to

plaintiff’s motion for fees, and Starovikov has not objected to



                                   9
the imposition of joint and several liability.     Under joint and

several liability, “when two or more persons' torts together

cause an injury, each tortfeasor is liable to the victim for the

total damages.”     United States v. Yalincak, 30 F.4th 115, 123

(2d Cir. 2022) (citation omitted).     The Supreme Court has

recognized that joint and several liability might “result in one

defendant's paying more than its apportioned share of liability

when the plaintiff's recovery from other defendants is limited

by factors beyond the plaintiff's control.”     McDermott, Inc. v.

AmClyde and River Don Castings, Ltd., 511 U.S. 202, 221 (1994).

The policy behind this allocation of liability is clear: “When

the limitations on the plaintiff's recovery arise from outside

forces, joint and several liability makes the other defendants,

rather than an innocent plaintiff, responsible for the

shortfall.”   Id.    The Court finds the imposition of joint and

several liability just: attorney Litvak settled for 32.23% of

the initial fee request, thus the Defendants are not left with a

disproportionate amount of the remaining judgment.     Moreover,

Defendants had the same opportunity to reach a settlement with

Google but declined to participate.     Any dispute between the

Defendants about the proper contribution is a question for “the

defendant tortfeasors to fight amongst themselves.”     Yalincak,

30 F.4th at 123 (2d Cir. 2022).



                                  10
